
PER CURIAM.
On a revocation of probation the trial judge in sentencing appellant departed upward more than one cell based on appellant having had multiple violations of probation in this case. Subsequently, the Florida Supreme Court has held that multiple violations of probation is not a proper reason for a guidelines departure. Williams v. State, 594 So.2d 273 (Fla.1992). Williams also held, however, that “where there are multiple violations of probation, the sentence may be successively bumped to one higher cell for each violation.” Therefore, the sentence in this case is set aside and the cause remanded for resentencing consistent with Williams.
Reversed in part.
DANAHY, A.C.J., and PARKER and PATTERSON, JJ., concur.
